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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 15-1131V
                                    Filed: January 28, 2016
                                        UNPUBLISHED

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SUSANNE WHIRLEY,                          *
                                          *
                     Petitioner,          *      Ruling on Entitlement; Concession;
                                          *      Influenza (“Flu”) Vaccine; Left Shoulder
                                          *      Injury; Shoulder Injury Related to
SECRETARY OF HEALTH                       *      Vaccine Administration (“SIRVA”);
AND HUMAN SERVICES,                       *      Special Processing Unit (“SPU”)
                                          *
                     Respondent.          *
                                          *
****************************
Paul R. Brazil, Muller Brazil, LLP, Dresher, PA, for petitioner.
Debra Filteau Begley, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1

Dorsey, Chief Special Master:

       On October 6, 2015, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 [the
“Vaccine Act”]. Petitioner alleges that she suffered a left shoulder injury which was
caused in fact by an influenza (“flu”) vaccine she received on October 3, 2014. Petition
at preamble. The case was assigned to the Special Processing Unit of the Office of
Special Masters.

        On January 28, 2016, respondent filed her Rule 4(c) report in which she
concedes that petitioner is entitled to compensation in this case. Respondent’s Rule
4(c) Report at 1. Specifically, respondent states that “petitioner’s left shoulder injury is
consistent with a shoulder injury related to vaccine administration (‘SIRVA’). Based on
the medical records outlined above, petitioner met the statutory requirements by
suffering the condition for more than six months. Therefore, based on the record as it

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  Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended
at 44 U.S.C. § 3501 note (2006)). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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now stands, petitioner has satisfied all legal prerequisites for compensation under the
Act.” Id. at 4.

     In view of respondent’s concession and the evidence before me, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.

                                  s/Nora Beth Dorsey
                                  Nora Beth Dorsey
                                  Chief Special Master




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